       Case 21-10539          Doc 23       Filed 10/06/21 Entered 10/06/21 08:10:08                        Desc Main
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


 In re: COREY CHATMAN                                          )            Case No. 21-10539
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 1633                             Debtors         )            Honorable Donald R. Cassling



            AMENDED             ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: The Experimental Station
     6100 S. Blackstone Ave.
     Chicago, IL 60637
     Email: Tuesday@experimentalstation.org
        Attn: Payroll Department

 WHEREAS, the above named debtor has VXEPLWWHG a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            The Experimental Station
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,
             COREY CHATMAN
 employer of BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,                                                           835.00
                                                   deduct from the earnings of the debtor the sum of $BBBBBBBBBBBB
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Thomas H. Hooper, Trustee at least once a month at the following address:

                                        Thomas H. Hooper Chapter 13 Trustee
                                                   P.O. Box 588
                                             Memphis, TN 38101-0588

 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               )257+(&2857



 Date                    10/6/2021                                                                    CM

 Entered:
                                                                Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

'HEWRURUAttorney Signature______________________                                           10/05/2021
                                                                                         Date:BBBBBBBBBBBBBBB

        ,DJUHHWRHQWU\RIWKLVRUGHUZLWKRXWIXUWKHUQRWLFHRUKHDULQJ

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
   ✔   I of the Chapter 13 Plan.
